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PSYCHOLOGICAL SERVICE REQUEST
USE THIS FORM TO COMMUNICATE WITH THE PSYCHOLOGICAL SERVICES UNIT (St),
USE THE BLUE NOC-3035 HEALTH SERVICE REQUEST IF YOUR REQUEST IS RELATED TO.PSYCHIATRIC MEDICATION OR
PSYCHIATRIC SERVICES
* PLACE ALL PAGES OF COMPLETED FORM IN THE DESIGNATED COLLECTION LOGATION,
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*Youth aged 18 and over may request a file reviaw and coples without parental consent. Youth undar 18 years of age must obtain parental
consent, by completing a DOC-1163A which can be obtained from the DOC, before requesting for a file review or copies.

FOLD THIS REQUEST OVER 7 TO THE LINE BELOW SO THAT INFORMATION REMAINS CONFIDENTIAL

DO NOT USE THIS FORM IF YOUR MENTAL HEALTH NEED IS AN EMERGENCY, SPEAK TO STAFF DIRECTLY,
IN THE LINED AREA BELOW, WRITE DOWN WHAT YOUR REQUEST IS ABOUT, BE AS ait AS you fe:
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completed form in the sick call box. Tha HSU will send a copy back to you indicating that your request has been received.

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Be sure to include today’s date on top of form. Check the appropriate box below, and explain your request on the lines provided. Place all 4 pages of the

HEALTH SERVICES [| HEALTH CARE RECORD REVIEW {7} COPIES FROM HEALTH CARE RECORD (List records below)

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Please provide a brief description below of the services you desire so that HSU can respond to your request

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Instruction to Inmate: Do not use this form to contact health staff. Use a Health, Dental or Psychological Service Request.
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' ccallbox, The HSU will send a copy back to you Indicating that your request has been received. '
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Case 2:23-cv-01233-WED Filed 06/07/24. Page 210f39 Document 28-1
Discharge Summary by Derrick J Ferry, APNP al 3/12/2023 1054

HSHS 3/16/2023 12:09:11 PM PAGE 1/003 Fax Server

Hospital Sisters Health System Prude, Terrance
MRN: 59332830, DOB: 4/29/1982, Sex: M

03/11/2023 - ED to Hosp-Admission (Discharged) in SVG 8 Surgical

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‘Discharge Summary
- Trauma and Acute Care Surgery

Name: Terrance Prude
DOB: 4/29/1982
MRN: 59332830

Admit Date: 3/11/2023

Discharge Date: 3/12/2023

Admitting Provider: Maymoona A Attiyat, MD
Discharging Provider: Maymoona Attiyat, MD

Primary Care Provider: No primary care provider on file.

COPY
Reason for Admission: :

Stab wound of neck

Discharge Diagnosis / Plan:
Stab wound of neck

Surgeries/Procedures:
Procedures: esophogram, intraop bronchoscopy - both negative for injury
Surgery: neck wound exploration with removal of foreign body, control of bleeding

Consultations:
None

History of Present Illness:

Terrance Prude is a(n) 40-year-old male currently incarcerated reportedly was assaulted with a plastic object
which penetrated the left side of his neck. Bleeding is controlled on arrival. The patient denied any nausea or
vomiting, no dizziness apnea, no dysphagia or odynophagia.

Hospital Course:

Patient proceeded to the operating room for local wound exploration and removal of plastic foreign body.
During the procedure he also underwent bronchoscopy which showed no evidence of bronchial injury. Following
surgery he also underwent esophagram which also showed no evidence of penetrating injury. Patient is admitted to
the hospital for supportive cares and monitoring. The following day patient denied any difficulty swallowing was able
to tolerate a general diet. Pain was controlled with oral analgesics. No new injuries on tertiary exam. This time he
stable for discharge.

Follow-up Appointment(s):
Trauma Clinic as needed = Wa ails
\Exhibit +3] \a of 43 Pages|

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Case 2:23-cv-01233-WED Filed 06/07/24. Page 22 0f39 Document 28-1
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Hospital Sisters Health System Prude, Terrance
MRN: 59332830, DOB: 4/29/1982, Sex: M

03/1/2023 - ED to Hosp-Admission (Discharged) in SVG 8 Surgical (continued)

Discharge Sy mmary (continued)

Discharge Instructions:

Anticoagulation: N/A

Antibiotics: Perioperative

Pain Control: Trauma pain meds: Acetaminophen, NSAID and Ice / Heat

Activity: Activity as tolerated

Diet: No restrictions

Wound/drain care: Keep dressing in place for 24 more hours then remove reapply as needed, monitor for
s/sx of infection

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Home medication changes: N/A

Disposition:

At this time, patient is deemed appropriate for discharge to Home (General Discharge). A detailed discussion was
had about the discharge process with the patient regarding follow-up appointments, pain management, activity
restrictions, wound care, and/or signs and symptoms for which the patient should call or go directly to the closest
emergency department for. All questions are answered.

Physical Examination at Time of Discharge:
Please refer to the progress note from date of discharge.

Medications at Time of Discharge:

Current Discharge Medication List

START taking these medications

Lo ee Se
acetaminophen (TYLENOL) 325 Take 2 tablets (650 mg total) by mouth every 6 (six) hours as needed
MG tablet for Pain.

Qty: 30 tablet, Refills: 0

Please note greater than 35 minutes was spent in all aspects of the discharge process time with majority occuring at
bedside and in Epic chart review.

Thank you,
Derrick J Ferry, APNP

Trauma and Acute Care Surgery ry
3/12/2023 i | C © ra

Prevea Health

835 S Van Buren St

Green Bay, WI 54301

Office (920) 436-1358 (8:00 am-5:00 pm)

Contact after hours nurse triage (920) 496-4700 before 8:00 am or after 6:00 pm
Fax (920) 431-3169

{Exhibit *al \aof 43 Pages|

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Case 2:23-cv-01233-WED Filed 06/07/24. Page 23 0f39 Document 28-1
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Hospital Sisters Health System Prude, Terrance
MRN: 59332830, DOB: 4/29/1982, Sex: M

03/11/2023 - ED to Hosp-Admission (Discharged) in SVG 8 Surgical (continued)

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Case 2:23-cv-01233-WED Filed 06/07/24. Page 24o0f39 Document 28-1

Patient.) PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

- Progress Notes ee |

Document Type: Nursing Narrative Note

Service Date/Time: 3/12/2023 10:13 CDT

Result Status: Modified

Document Subject: Hospital Update

Sign Information: Baker,RN, Ellyn M (3/12/2023 12:43 CDT); Baker,RN,Ellyn M

(3/12/2023 10:19 CDT)

Addendum by Baker, RN, Ellyn M on March 12, 2023 12:43 CDT
1205pm. Bethany RN called report for patient who is being discharged today. Tylenol order will be sent in hardcopy. Pt last
Tylenol dose 8 am today.

Pt has gauze and transparent dressing covering wound. No wound care orders given.
Security called to inform. Talked to Mejia about this discharge.

Electronically Signed on 03/12/23 12:43 PM

are COPY

Bethany RN report: Foreign object successfully removed. Pt still having a lot of pain.
Swallow study preformed today - all is good. Currently waiting on provider orders to discharge taday or tomorrow.

Electronically Signed on 03/12/23 10:19 AM

Baker, Ellyn RN

Document Type: Nursing Narrative Note

Service Date/Time: 3/11/2023 13:45 CST

Result Status: Auth (Verified)

Document Subject: Sick call Cold symptoms - seen for foriegn object to neck
Sign Information: Baker,RN,Ellyn M (3/11/2023 13:50 CST)

Pt ambulated to HSU with 2 escorts with an even steady pace. Pt was stabbed in the neck with a foreign object. Object
protruding out of right side of the neck bleeding slowly. RN determined Ambulance to be called for an evaluation at the ED.
Pt never lost consciousness. He was A&O x4. Security treated his OC sprayed eyes while the RN assessed the wound.

Pt whisked away to prepare for transport. RN continued to monitor patient.
Pt asked why he was called to HSU. RN stated cold symptoms. Pt stated he never wrote the HSR.

Ambulance took pt to St. Vincent Haspital. RN called report.
Electronically Signed on 03/11/23 01:50 PM

Baker, Ellyn RN ,

Document Type: Progress Note Generic

Service Date/Time: 4/7/2023 11:00 CDT

Result Status: Auth (Verified)

Document Subject: Phone Call from sister

Sign Information: Merbach,MPAA, Lisa A (4/7/2023 11:05 CDT)

[Exhibit al \4 of 13 Pages|

Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

Case 2:23-cv-01233-WED Filed 06/07/24. Page 25o0f39 Document 28-1
Patient’ PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

Progress Notes |

Writer received a phone call from Swera Faraj wanting to discuss Prude, T medical file.
| informed her we di not have a 1163A on file for me to speak with her.
Sent DOC 1163A to Mr Prude for him to fill out if he would ike us to speak with her.

Electronically Signed on 04/07/23 11:05 AM

Merbach, Lisa MPAA

Document Type: Progress Note Generic

Service Date/Time: 3/14/2023 09:49 CDT

Result Status: Auth (Verified)

Document Subject: Neck injury, asthma

Sign Information: Daughtry,MD,Barry T (3/14/2023 09:57 CDT)
Subjective

He is being seen for a stab wound in the neck. He was stabbed with a pen and the foreign body was extracted in the emergency room.
He has self absorbing sutures in the left neck. Complains of neck pain when he sleeps. He has tylenol for pain.
He has asthma which is well controlled.

Objective

Temperature Temporal Artery: 37.1 Deg C (03/14/23 09:46:00)
Peripheral Pulse Rate: 73 bpm (03/14/23 09:46:00)
Respiratory Rate: 14 br/min (03/14/23 09:46:00)

Systolic Blood Pressure: 125 mmHg (03/14/23 09:46:00)
Diastolic Blood Pressure: 67 mmHg (03/14/23 09:46:00)
Mean Arterial Pressure, Cuff: 86 mmHg (03/14/23 09:46:00)

Physical Exam
Neck: healed laceration left neck about 6-7 cm long with some swelling, no lymphadenopathy or erythema
Oropharynx: benign

General: Alert, no acute distress

Lungs: Clear to auscultation

Heart: Regular rate, rhythm, no murmurs, rubs or gallops

Extremities: No edema

Assessment/Plan
1. Puncture wound of neck with foreign body
Healing, reassurance

a COPY

continue inhalers
follow up in 2 months

Antisocial personality disorder
Bilateral plantar fasciitis
Encounter for laboratory testing for COVID-19 virus

Encounter for medical care

Ordered: \Exhibit al 5 oY i Pages|

Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

Case 2:23-cv-01233-WED Filed 06/07/24. Page 26o0f39 Document 28-1
Patient) PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

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acetaminophen, 650 mg = 2 tab, Oral, Tab, QID - SC for 3 ae PRN pain, First Dose: 03/12/23 14:03:00 CDT, Stop Date: 03/15/23
44:02:00 CDT, Next Dispense Date: 03/13/23

Focal hyperhidrosis
insomnia

Pain in right shoulder
Seasonal asthma

Shoulder pain

Electronically Signed on 03/14/23 09:57 AM

Daughtry, Barry MD

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Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

Case 2:23-cv-01233-WED Filed 06/07/24. Page 27of39 Document 28-1
Patient. PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

Document Type: Nursing Narrative Note

Service Date/Time: 3/16/2023 11:00 CDT

Result Status: Auth (Verified)

Document Subject: Neck pain from stabbing

Sign Information: Reindl,RN, Steven (3/16/2023 11:06 CDT)

S-"| had Tylenol ordered and that was helping with the pain but then it stopped yesterday, | have used IBU in the past and
it worked better”

O-pt ambulated to HSU with an even steady gait in no acute distress. Pt has full ROM of head with slight discomfort.
Wound L-side neck intact healing with no S/S of infection.

A-Pain AEB pt statement

P-IBU ordered per RN protocol. Pt wil update HSU with any changes or worsening symptoms.

Electronically Signed on 03/16/23 11:06 AM

Reindl, Steven RN

Document Type: Nursing Narrative Note

Service Date/Time: 3/12/2023 15:02 CDT

Result Status: Auth (Verified)

Document Subject: Hospital to RHU move

Sign Information: Potapenko,LPN,Amy L (3/12/2023 15:03 CDT)

Patient back from the hospital and moved to RHU.
The following medications were placed in the RHU bucket to be brought up to RHU:

Acetaminophen 325mg-12 tabs (nursing protocol order)
Albuterol Inhaler-1 inhaler

Cetirizine 10mg-30 tabs

Alvesco 80mcg-1 inhaler CC rm"
Electronically Signed on 03/12/23 03:03 PM j f |
Potapenko, Amy LPN

Document Type: Nursing Narrative Note

Service Date/Time: 3/12/2023 13:52 CDT

Result Status: Modified

Document Subject: Hospital Return assessment

Sign Information: Baker,RN, Ellyn M (3/12/2023 14:17 CDT); Baker,RN,Ellyn M

(3/12/2023 14:03 CDT)

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Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

Case 2:23-cv-01233-WED Filed 06/07/24 Page 280f39 Document 28-1
Patient.) PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

| “ProgressNotes

P) Discussed organ donation policy #500.30.13. Informed | would submit referral to discuss both items with MD. Mr. Prude
versed understanding and appreciative.

Electronically Signed on 04/13/23 04:27 PM

Garland, Shane RN

Document Type: Nursing Narrative Note

Service Date/Time: 4/11/2023 11:12 CDT

Result Status: Auth (Verified)

Document Subject: Phone call

Sign Information: Kilmer, RN, Jennifer L (4/11/2023 11:13 CDT)

Received a phone call from CO Rhome in the SCH that the patient is having neck pain. This is not new for the patient and
the patient just saw the ACP for this. | advised the patient write an HSR.

Electronically Signed on 04/11/23 11:13 AM

Kilmer, Jennifer RN

Document Type: Nursing Narrative Note

Service Date/Time: 3/20/2023 11:07 CDT

Result Status: Auth (Verified)

Document Subject: Sick call Neck pain

Sign Information: Matushak,RN,Rachel M (3/20/2023 11:16 CDT)

Patient ambulates to HSU with steady even gait in no acute distress. Patient states that he does not need to be seen that
he just needs a long term order for Tylenol. ACP Daughtry contacted. Tylenol ordered for 90 days per ACP. Patient
thankful and voiced no other concerns for HSU. Follow up PRN.

Electronically Signed on 03/20/23 11:16 AM

Matushak, Rachel RN

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Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

Case 2:23-cv-01233-WED Filed 06/07/24. Page 290f39 Document 28-1
Patient’ PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

a __ Progress Noles . siemens

Document Type: Nursing Narrative Note

Service Date/Time: 4/13/2023 11:53 CDT

Result Status: Modified

Document Subject: Cell Search

Sign Information: Potapenko,LPN,Amy L (4/19/2023 16:40 CDT); Potapenko,

LPN,Amy L (4/14/2023 14:43 CDT): Potapenko,LPN,Amy L
(4/13/2023 11:55 CDT)

Addendum by Potapenko, LPN, Amy L on April 19, 2023 16:40 CDT
Charge RN went to patients cell to issue a stock card of naproxen on 4/14/23. Patient showed the RN that he has a card

of Naproxen already in cell.

Electronically Signed on 04/19/23 04:40 PM

Potapenko, Amy LPN

Addendum by Potapenko, LPN, Amy L on April 14, 2023 14:43 CDT

PC to the SCH to see if the cell search for this patient was conducted. The SCH cage officer cannot confirm if a cell
search ws done or not done on this patient. Writer asked for a cell search to be conducted to ensure if patient does or
does not have his medication. If cell search is conducted and no Naproxen is found a stock card will have to be issued.

Electronically Signed on 04/14/23 02:43 PM

Potapenko, Amy LPN : CK] C ~ F

Reviewed by: Garland, RN, Shane C

Per patient he does not have his Naproxen 500mg thai was checked out of the medication room on 4/11/23. Per MAR
medication was not scanned to patient. Writer called the SCH to have a ceil search to rnake sure there was no card of
Naproxen in cell before more Naproxen will be issued.

Electronically Signed on 04/13/23 11:55 AM

Potapenko, Amy LPN

Reviewed by: Kilmer, RN, Jennifer L

Document Type: Nursing Narrative Note

Service Date/Time: 4/13/2023 09:45 CDT

Result Status: Auth (Verified)

Document Subject: Organ donation inquiry

Sign Information: Garland,RN,Shane C (4/13/2023 16:27 CDT)

S) States he wanted to figure out if he could be a match to donate a kidney to a family member. Also concerned with
continued neck pain s/p assault. States current medication is not working.
QO) Ambulates to HSU with steady gait and in no acute distress.

A) Informational .
TExhibit al 14 of 43 Pages]

Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

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Patient! PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

Current Medications list

__ Inpatient

Order: mirtazapine

Ordering Physician: Rojas,MD,Alexis A

Order Details: 15 mg = 1 tab, Oral, Tab, HS - SC for 350 days, First Dose: 4/18/23 8:00:00 PM CDT, Stop Date: 4/2/24
7:59:00 PM CDT, Next Dispense Date: 08-MAY-2023 09:00: 00.00

Order Comment:

Order: bacitracin topical (bacitracin 500 units/g topical ointment)

Ordering Physician: Daughtry, MD, Barry T

Order Details: 1 app, Topical, Form: Ointment, Daily - KOP for 30 days, First Dose: 4/7/23 11:51:00 AM CDT, Stop Date:
9/7/23 11:50:00 AM CDT, Next Dispense Date: 04/07/26

Order Comment:

Order: naproxen

Ordering Physician: Daughtry,MD,Barry T

Order Details: 500 mg = 1 tab, Oral, Tab, BID (AM/PM) - KOP for 90 days, PRN pain, First Dose: 4/11/23 7:30:00 AM
CDT, Stop Date: 7/10/23 7:29:00 AM CDT, Next Dispense Date: 01-MAY-2023 09:00:00.00

Order Comment:

Order: methocarbamol

Ordering Physician: Daughtry,MD,Barry T

Order Details: 750 mg = 1 tab, Oral, Tab, HS - SC for 3 weeks, PRN muscle spasm, First Dose: 4/11/23 8:00:00 PM CDT,
Stop Date: 5/2/23 7:59:00 PM CDT, Next Dispense Date: 07-APR-2026 09:00:00.00

Order Comment:

Order: acetaminophen (acetaminophen 325 mg oral tablet range dose)

Ordering Physician: Daughtry,MD, Barry T

Order Details: 1 to 2 Tablets, Oral, QID - KOP for 90 days, PRN pain, First Dose: 3/20/23 9:01:00 AM CDT, Stop Date:
6/18/23 7:28:00 AM CDT, Form: Tab, Next Dispense Date: 29-MAR-2023 09:00:00.00

Order Comment:

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Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

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Patient. PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

Orders
- ~~ Pharmacy )
Order: mirtazapine a nt |
Order Date/Time: 4/13/2023 14:11 CDT _ Be
Order Status: Ordered Department Status: Ordered
End-state Date/Time: 4/2/2024 19:59 CDT End-state Reason:
Ordering Physician: Rojas, MD,Alexis A Consulting Physician:

Entered By: Rojas,MD, Alexis A on 4/13/2023 14:11 CDT
Order Details: 15 mg = 1 tab, Oral, Tab, HS - SC for 350 days, First Dose: 4/18/23 8:00:00 PM CDT, Stop Date: 4/2124

7:59:00 PM CDT, Next Dispense Date: 08- MAY-2023 09:00:00. 00

Action Type: Modify Action Date/Time: 4/14/2023 14:55 CDT: Electronically Signed By: Schoofs,RPh,
Roberta S

Communication Type: Written .

Action Type: Order Action Date/Time: 4/13/2023 14:11 CDT Electronically Signed By: Rojas,MD,
Alexis A

Communication Type: Written

Order: bacitracin topical (bacitracin 500 units/g topical ointment)
Order Date/Time: 4/7/2023 11:51 CDT

Order Status: Ordered Department Status: Ordered
End-state Date/Time: 5/7/2023 11:50 CDT End-state Reason:
Ordering Physician: Daughtry, MD,Barry T Consulting Physician:

Entered By: Daughtry,MD,Barry T on 4/7/2023 11:51 CDT

Order Details: 1 app, Topical, Form: Ointment, Daily - KOP for 30 days, First Dose: 4/7/23 11:51:00 AM CDT, Stop Date:

5/7/23 11:50:00 AM CDT, Next Dispense Date: 04/07/26

Action Type: Modify Action Date/Time: 4/7/2023 11:56 CDT Electronically Signed By: Heberlein,
RPh,Gregory W

Communication Type: Written

Action Type: Order Action Date/Time: 4/7/2023 11:51 CDT Electronically Signed By: Daughtry,MD,
Barry T

Communication Type: Written

Order: naproxen
Order Date/Time: 4/7/2023 11:48 CDT

Order Status: Ordered Department Status: Ordered
End-state Date/Time: 7/10/2023 07:29 CDT End-state Reason:
Ordering Physician: Daughtry, MD, Barry T ’ Consulting Physician:

Entered By: Daughtry,MD,Barry T on 4/7/2023 11:48 CDT
Order Details: 500 mg = 1 tab, Oral, Tab, BID (AM/PM) - KOP for 90 days, PRN pain, First Dose: 4/11/23 7:30:00 AM
CDT, Stop Date: 7/10/23 7:29:00 AM CDT, Next Dispense Date: 01-MAY-2023 09:00:00.00

Action Type: Order Action Date/Time: 4/7/2023 11:48 CDT Electronically Signed By: Daughtry,MD,
Barry T

Communication Type: Written

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Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

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Patient) PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

| Psychiatric

DOCUMENT NAME: Psychiatric Progress Note

SERVICE DATE/TIME: 4/13/2023 14:05 CDT

RESULT STATUS: Auth (Verified)

PERFORM INFORMATION: Rojas,MD,Alexis A (4/13/2023 14:05 CDT)
SIGN INFORMATION: Rojas,MD, Alexis A (4/13/2023 14:13 CDT)

Telepsychiatry Follow-Up

Subjective/Interval History:

Patient currently in general population. | have reviewed prior PSU and psychiatrist notes. Patient has consented to use of secure video
conferencing. Patient is aware of the limits of confidentiality. last visit was January 2023; he wasn't on psych meds and follow up was as
needed. says he was stabbed in the neck 3/11/23 by another inmate. says he has nerve damage and required surgery. since then has
had nightmares and insomnia. has been hypervigilant around others since the trauma. is interested in restarting mirtazapine which was

helpful in the past.

Per most recent PSU clinician note:
Diagnoses:

"Antisocial personality disorder
Insomnia

Med Trials per patient: mirtazapine 15 mg po qhs (effective) Ps
Med Trials per chart: f" 4 eo
SA; none per patient. Rees Ce Fk

Medical Dx Hx: shoulder injury per patient, asthma.

Current Medications:

Medications (7) Active

Scheduled: (3)

Bacitracin Topical Oint (TUBE) 1 app, Topical, Daily - KOP

Cetirizine 10 mg Tab 30 (BTL) 10 mg 1 tab, Oral, Daily - KOP

Ciclesonide 80 mcg/inh 6.1 g (INHALER) 80 meg 1 puff(s). Inhalation, BID (AM/HS) - KOP
Continuous: (0) ;

PRN: (4)

Acetaminophen 325 mg Tab 1 to 2 Tablets, Oral, QID - KOP

Albuterol HFA 90 mcg/inh 18gm (INHALER) (66993-0019-68) 180 mcg 2 puff(s}, Inhalation, QID - KOP
Methocarbamol 750 mg Tab 750 mg 1 tab, Oral, HS - SC

Naproxen 500 mg Tab 500 mg 1 tab, Oral, BID (AM/PM) - KOP

Active Allergies (1)
No Known Medication Allergies
Reaction: None Documented

Mental Status Exam:
Fair grooming. Wearing prison issued clothing. Speech is normal volume, rate and tone. Mood is "ok". Affect is euthymic. Thought

process linear and logical. Denies ah and vh. Denies si and hi. Insight is fair. Judgment is fair. Cognition grossly intact.

impression:
Patient expressed an understanding of the risks, benefits, and alternatives to the treatment plan and consents to the plan. Patient has

capacity to consent at this time. Patient vouching for his safety and states he will inform staff if suicidal. Patient appears to be attending
to his ADLs with no evidence of grave disability secondary to a psychiatric condition.

Risk Assessment: Risk Elevation From Baseline: Minimal. Baseline: Low.

-Risk Factors: existing psych diagnosis.
-Protective Factors: No organized plan, No current substance misuse, Not intoxicated, Future oriented and hopeful, Intact thought

process, no past attempt, No life threatening illness. . =
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Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

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Patient! PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

Psychiatric sd

DSM § Diagnoses:
# Antisocial personality disorder
# Acute stress disorder. (trauma was on 3/11/23)

Plan:
- Start mirtazapine 15 mg po ghs for anxiety and insomnia.
- Continue routine follow up with PSU.

RTC: 6 weeks.
Electronically Signed on 04/13/23 02:13 PM

Rojas, Alexis MD

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Report Request ID: 6891936 Print Date/Time: 4/21/2023 15:04 CDT

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, Case 2:23-cv-01233-WED — Filed 06/07/24 Page 35 of 39 Document 28-1

Wisconsin Department of Corrections

Patient. PRUDE, TERRANCE D MRN/DOC#: 000335878 DOB: 4/29/1982
Location: Wisconsin Secure Program Facility Admission Date: 2/16/2001 Discharge:
ical Records From: 12/20/2023 00:00 CST __ to_1/31/2024 23:59 CST __ Gender: Male
Consultations
Document Type: inpatient PT Evaluation
Service Date/Time: 12/22/2023 12:46 CST
Result Status: Auth (Verified)
Document Subject: Inpatient PT Evaluation
Sign information: Bothfetd, PT, Nathaniel $ (12/22/2023 15:58 CST)

Inpatient PT Evaluation Entered On: 12/22/2023 12:54 CST
Performed On: 12/22/2023 12:46 CST by Bothfeld, PT, Nathaniel S

General Info

Pain Present: Yes actual or suspected pain

PT General information Subjective History: SUBJECTIVE:

Per pt reporvEMR/WICS Conduct Report; pt was stabbed with a pen by another PIOC on 3/11/23 while in GBCI HSU, the
pen went into the neck, left/ateral to the trachea/asnphagus and broke aff; neck pain sx have improved vastly since then
but still a 2/10 PR on average and a 4/10 PR at worst; he is currently on AC; he works out in the cell performing frog hops,
burpees, push ups, tyson push ups and sit ups and crunches; he takes Naproxen for pain management

OBJECTIVE:
Gait is normal. Transfers are normal. Pt rear cuffed and escorted by CO on RHU. Cervical AROM is WEL in all planes.
Sear present jeft of the throat present. Forward head posture observed. Verbally instructed pt on HEP: form, parameters
and rationale and deep cervical flexor mm strength and endurance normative values.
Bothfeld, PT, Nathaniel S - 12/22/2023 15:58 CST
Orientation : Oriented x 4
Affect/Behavior; Appropriate, Calm, Cooperative
Safety(Jludgment: Able to find way around unit
Basic Command Following: intact ,
Bothfeld, PT, Nathaniel S - 12/22/2023 12:46 CST
Pain Assessment
Pain Location: Neck
Laterality: Bilateral
Quality: Aching
Time Pattern: Intermittent
Onset: Gradual
Self Report Pain: Numeric rating scale
Numeric Pain Scale: 4
Acceptable Numeric Pain Scale: 0 = No pain
Numeric Pain Score: 4
Numeric Pain Acceptable intensity Score: 0
Bothfeld, PT, Nathaniel S - 42/22/2023 15:58 CST
Mobility :
Mobility Grid
Rolf Left: Complete independence
Rolf Right: Complete independence

Supine to Sit: Complete independence E iba] \4 of 8 Pages|

Report Request ID: 7406479 Print Date/Time: 2/1/2024 13:10 CST

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Patient’ PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

| Consultations |

Sit fo Supine
Scooting : Complete independence

Transfer Sit to Stand; Complete independence

Transfer Stand to Sit: Complete independence

Transfer Bed to and From Chair: Complete independence
Transfer Toilet: Complete independence

Bothfeld, PT, Nathaniel S$ - 12/22/2023 12:46 CST

Ambulation Level: Complete independence
Stairs: Does not occur

Bothfeld, PT, Nathaniel S - 12/22/2023 12:46 CST
Assessment
PT Impairments or Limitations : Muscle weakness, Myofascial pain
Treatment Recommendations : 41 yo male reporting chronic anterior and posterior neck pain 9 months s/p being stabbed
in the left anterior neck by a pen during an assault that occurred while in GBCI HSU. AROM of the cervical spine is full in
all planes and pt is | with all ADLs and is able to perform his normal calisthenics/exercise regimen but pt still reporting
mild neck pain and stiffness that rates from 2-4/10 PR in severity. Pt was instructed on PT HEP: form, parameters and
rationale and we discussed POC and pt agrees to adhere to the PT HEP. HEP dispensed to pt's unit and PT f/u scheduled

for in 2 weeks.
Bothfeld, PT, Nathaniel S - 12/22/2023 15:58 CST

Education
Teaching Method: Demonstration, Explanation, Printed materials, Teach-back

Bothfeld, PT, Nathaniel S - 12/22/2023 12:46 CST
Physical Therapy Education Grid

Exercise Program: Verbalizes understanding, Demonstrates
Physical Therapy Plan of Care: Verbalizes understanding
Bothfeld, PT, Nathaniel S - 12/22/2023 12:46 CST
Long Term Goals

PT Patient,Caregiver Goal: "Not have neck pain anymore.”
Bothfeld, PT, Nathaniel S - 12/22/2023 12:46 CST

PT Long Term Goals Grid.
Long Term Goal 1
Goal: SEE STGs
Bothfeld, PT,
Nathaniel S -
12/22/2023 12:46
CST
PT Short Term Goats
Other PT Goals Grid.
Goal #1 Goal #2 Goal #3
Goal: Perform HEP, | Adhere to PT) Demonstrate full
HEP 3-5x/week) and normal deep
for 12 weeks| cervical flexor mm
strength and
endurance,
assessed via Chin
Tuck, Head Lift
Test, 1-3'
Status : Progressing, Progressing, Progressing, f : ’ .
continue continue continue FExchibit 3] a oF Hager]
Report Request ID: 7406479 Print Date/Time: 2/1/2024 13:10 CST

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Patient! PRUDE, TERRANCE D MRN/DOC: 000335878 DOB: 4/29/1982

Consultations
re_—_— Bothfeld, PT|  Bothfeld, Pl, Bothfeld, PT)
Nathaniel S - Nathaniel S - Nathaniel S -
12/22/2023 15:58! 12/22/2023 15:58] 12/22/2023 15:58
CST CST CST

Plan
Frequency: 2 times per month
Duration: 12 Weeks
Treatments Planned: Electric modalities, Pain management, Patient education, Therapeutic exercises
Treatment Plan/Goals Established With Patient/Caregiver: Yes
Other PT Treatment Provided : Composed and instructed pt on initial HEP; form, parameters and rationale.
Evaluation Complete: Yes
Bothfeld, PT, Nathaniel S - 12/22/2023 12:46 CST
Time Spent With Patient PT ,
PT Evaluation units moderate: 3 units
Bothfeld, PT, Nathaniel S - 12/22/2023 15:58 CST
Additional Information
Additional information PT: Dx: Chronic Neck Pain, DOI/MOl: 3/11/2023 via Stab Wound Left of Throat with a Pen in
GBCI HSU

HEP:
-Cervical Retraction, 10 x 10 x 2-5 second hold/daily
-Prone Y, T, |, 3-5 x 10-20 reps, hold for 5-10 second hold, 2-3 days/week
-Supine Cervical Self Applied Traction, PRN, 1-3 x 1-3
-Supine Chin Tuck, Head Lift, 3-5 x 1', 2-3 days/week
-AROM of Cervical Spine: 10 x 10 reps/daily, in all planes
-Cued pt to maintain cervical retraction during his calisthenic regimen
Bothfeld, PT, Nathaniel S - 12/22/2023 15:58 CST

[Exhibit *3I B of Pages|

Report Request 1D: 7406479 Print Date/Time: 2/1/2024 13:10 CST

_ Case 2:23-cv-01233-WED Filed 06/07/24 Page 38o0f39 Document 28-1
State of Wisconsin
Department of Corrections

Patient Information

MRN: 000335878

Name: PRUDE, TERRANCE D FIN: 200102160101335878

Location: WSPF _AR1 . Admit Date: 02/16/01

Room: "444 Lb Attending MD: ~ Degiovanni, MD, Gina
Date of Birth: 04/29/82 E-Signed By: Degiovanni, MD, Gina
Age: 41 Years LOS: . 8386 Days

Sex: Male .

Height:

Weight:

Admitting Diagnosis:
Altergies: No Known Medication Allergies

Ordering Information . Order Action: Order

Order: TENS UNIT

Requested Start Date/Time: 01/05/23 15:03:00 CST

Duration: 90

Duration Unit: days

Stop Date/Time: 04/05/23 16:02:00 CDT

Patient's Location ~ Facility: WSPF .

Special instructions: TENS Unit. Chronic Posterior Neck Pain. 90 days. 7 unit, 2

leads, 4 electrodes, 1 9V battery, all present and working.
Dispensed on 1/5/2024.

Order iD: 1439968641

Comments:

oa
mt
Ordered By: Bothfeld, PT, Nathaniel $ Order Date/Time: — (02/01/24 CST Exit al

Communication Type: Written ¥ oft 4 Pages|

Case 2:23-cv-01233-WED Filed 06/07/24 Page.39 of 39 Document 28-1

